                            UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF TENNESSEE
                                    AT KNOXVILLE


UNITED STATES OF AMERICA,                         )
                                                  )
              Plaintiff,                          )
                                                  )      No.3:05-MJ-2127
V.                                                )      (GUYTON)
                                                  )
MELCHIZEDEK BARBARY,                              )
                                                  )
              Defendant.                          )


                       ORDER OF TEMPORARY DETENTION
                PENDING HEARING PURSUANT TO BAIL REFORM ACT

              The defendant appeared before the undersigned for an initial appearance on a

Criminal Complaint on November 18, 2005. Assistant United States Attorney Michael Winck was

present representing the government, and the defendant was not represented by counsel. The

defendant was also present. The government moved for detention. A detention hearing is

scheduled before the undersigned for Tuesday, November 22, 2005, at 9:30 a.m. The issue of

custody will be addressed at that hearing. The defendant acknowledged and agreed that he would

remain in detention. The defendant shall be held in custody by the United States Marshal until

November 22, 2005, and produced for the above scheduled hearing.

                                           ENTER:


                                                 s/ H. Bruce Guyton
                                           United States Magistrate Judge




     Case 3:05-cr-00142    Document 4      Filed 11/21/05     Page 1 of 1     PageID #: 7
